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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

    DR. OCHEOWELLE OKEKE,                                                    CIVIL ACTION
         Plaintiff

    VERSUS                                                                   NO. 20-450

    ADMINISTRATORS OF THE TULANE                                             SECTION: “E”
    EDUCATIONAL FUND AND DR. JEFFREY WIESE,
        Defendant


                              AMENDED SCHEDULING ORDER

          Before the Court is a Joint Motion for Mutual Extension of Dispositive Motion

Filing Cutoff and Response Dates.1

          IT IS HEREBY ORDERED that the motion is GRANTED. Non-evidentiary

pretrial motions and motions in limine regarding the admissibility of expert testimony

must be filed and served no later than Tuesday, January 5, 2021. Responses and

oppositions to these motions are to be filed and served no later than Tuesday, January

19, 2021.

          The parties are to comply with the deadlines as set forth below.

    Non-evidentiary pretrial motions and           Filed and served no later than January 5,
    motions in limine regarding the                2021
    admissibility of expert testimony
    See Scheduling Order at p. 3
    regarding the format of
    depositions

    Settlement conference (Judge Roby)             January 12, 2021 at 2:00 p.m.
    See R. Doc. 43.




1   R. Doc. 41. The Court GRANTS expedited consideration of the motion. R. Doc. 42.

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Responses/oppositions to non-             Filed and served no later than January 19,
evidentiary pretrial motions and          2021
motions in limine regarding the
admissibility of expert testimony

Pretrial order                            Filed by February 1, 2021 at 5:00 p.m.


Any exhibits to be used solely for
impeachment must be presented
to the Court for in camera review
by this deadline. See Section
IX.10.b of the pretrial notice

Pretrial conference                       February 4, 2021 at 1:00 p.m.


Attended by lead attorney. (See
Local Rule 11.2)

Final list of witnesses to be called at   Filed no later than February 11, 2021 at
trial                                     5:00 p.m.

Motions in limine (other than those       Filed no later than February 9, 2021 at
regarding the admissibility of expert     5:00 p.m.
testimony) and memoranda in support

Responses to motions in limine            Filed by February 18, 2021 at 5:00 p.m.


Joint statement of the case               Filed by February 22, 2021 at 5:00 p.m.


See pretrial notice at p. 8




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Joint jury instruction (or if agreement    Filed and emailed to the Court by
cannot be reached, counsel shall           February 22, 2021 at 5:00 p.m.
provide alternate versions with respect
to any instruction in dispute, with its
reasons for putting forth an alternative
instruction and the law in support
thereof


See pretrial notice at p. 9

Joint proposed jury verdict form (or if    Filed by February 22, 2021 at 5:00 p.m.
agreement cannot be reached, separate
proposed jury verdict forms and a joint
memorandum explaining the
disagreements between the parties as
to the verdict form)


See pretrial notice at p. 9

Proposed special voir dire questions       Filed by February 22, 2021 at 5:00 p.m.


See pretrial notice at p. 9

Objections to exhibits and supporting      Filed by February 22, 2021 at 5:00 p.m.
memoranda


NOTE: Each objection must identify
the relevant objected-to exhibit by the
number assigned to the exhibit in the
joint bench book(s)


See pretrial notice at p. 5




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Two copies of joint bench book(s) of          Delivered to the Court by February 22,
tabbed exhibits, with indices of              2021 at 5:00 p.m.
"objected-to" and "unobjected-to"
exhibits, identifying which party will
offer each exhibit and which witness
will testify regarding the exhibit at trial


See pretrial notice at pp. 5-6

Objections to deposition testimony and        Filed by February 22, 2021 at 5:00 p.m.
supporting memoranda


See pretrial notice at p. 6 with
particular attention to
instructions regarding the format
of depositions

Responses to objections to exhibits           Filed by February 24, 2021 at 5:00 p.m.


See pretrial notice at p. 5

Responses to objections to deposition         Filed by February 24, 2021 at 5:00 p.m.
testimony


See pretrial notice at p. 6

If counsel intends to ask questions on        The factual elements of such questions shall
cross-examination of an economic              be submitted to the expert witness by
expert which require mathematical             February 24, 2021 at 5:00 p.m.
calculations


See pretrial notice at p. 8




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Copies of any charts, graphs, models,       Provided to opposing counsel by February
schematic diagrams, and similar             24, 2021 at 5:00 p.m.
objects intended to be used in opening
statements or closing arguments


See pretrial notice at p. 7

Objections to any charts, graphs,           Filed by February 25, 2021 at 5:00 p.m.
models, schematic diagrams, and
similar objects intended to be used by
opposing counsel in opening
statements or closing arguments


See pretrial notice at p. 7

Jury trial                                  March 1, 2021 at 9:00 a.m.
                                            (estimated to last 4 days)
Whenever a case is settled or otherwise
disposed of, counsel must immediately
inform the clerk's office, judge to
whom the case is allotted, and all
persons subpoenaed as witnesses. If a
case is settled as to fewer than all
parties or all claims, counsel must also
identify the remaining parties and
unsettled claims.


See Local Rule 16.4



      New Orleans, Louisiana on this 22nd day of December, 2020.




                                           ________________________________
                                                     SUSIE MORGAN
                                             UNITED STATES DISTRICT JUDGE


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